            Case 21-32351 Document 913 Filed in TXSB on 12/10/21 Page 1 of 3
                                                                                                          United States Bankruptcy Court
                                                                                                               Southern District of Texas

                                                                                                                  ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                                               December 10, 2021
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                                 Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

    IN RE:                                                             CHAPTER 11
    LIMETREE BAY SERVICES, LLC, et al., 1                              CASE NO.: 21-32351 (DRJ)
               Debtors.                                                (Jointly Administered)
                                     (Docket No. 862)
ORDER GRANTING DEBTORS’ EMERGENCY MOTION TO (I) REOPEN AUCTION
   PURSUANT TO BIDDING PROCEDURES, (II) APPROVE SCHEDULE AND
PROCEDURES FOR CONTINUED AUCTION, AND (III) GRANT RELATED RELIEF

           Upon the motion (“Motion”) 2 of the debtors and debtors-in-possession (collectively, the

“Debtors”) in the above-captioned chapter 11 cases (collectively, the “Chapter 11 Cases”) for

entry of an order (the “Order”) reopening the Auction, as more fully set forth in the Motion;

finding this Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334; finding that this

matter is a core proceeding pursuant to 28 U.S.C. § 157; finding this Court may enter final orders

in this matter consistent with Article III of the United States Constitution; finding that this matter

is properly venued in this Court pursuant to 28 U.S.C. §§ 1408 and 1409; finding notice of the

Motion due and proper under the circumstances and in accordance with all applicable rules and

orders, and no further or additional notice of the Motion being warranted; having considered the

Motion, the objections thereto presented during the hearing, and all other matters submitted in

connection with the Motion; and, after due deliberation and upon the evidence presented, finding

that the relief requested by and through the Motion, as granted herein, is due and proper, is




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, as
applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776); Limetree Bay Refining
Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining Operating, LLC (9067); Limetree Bay
Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree Bay Services, LLC, 11100 Brittmoore Park Drive,
Houston, TX 77041.

2
    Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to them in the Motion.
          Case 21-32351 Document 913 Filed in TXSB on 12/10/21 Page 2 of 3




premised on the Debtors’ sound business judgment, and serves the best interests of the estates and

their creditors; and sufficient cause appearing therefor,

         IT IS HEREBY ORDERED:

         1.        The Motion is hereby granted as provided herein and, all objections to the Motion,

which have not been withdrawn, waived or settled, and all reservations of rights included therein,

are denied and overruled on the merits.

         2.        The Debtors are authorized to reopen the Auction. The Auction shall begin on

December 17, 2021, at 10:00 a.m. (prevailing Central Time). The Auction shall be held via a

virtual platform, such as Zoom or GoToMeeting, as the Debtors designate. No later than December

16, 2021, at 12:00 p.m. (prevailing Central Time), the Debtors shall provide credentials necessary

to access such platform to SCE, Bay, Sabin, WIPL, the Notice Parties, the United States, and the

United States Trustee.

         3.        WIPL is hereby declared a Qualified Bidder and the WIPL APA is deemed to be a

Qualified Bid for all purposes under the Bidding Procedures and this Order, including, without

limitation, participating as a bidder during the Auction. The WIPL APA shall constitute an overbid

of the SCE bid at the Auction. At the Auction, any subsequent bids shall be submitted in the

following order: first, SCE; second, Bay/Sabin; and third, WIPL. The Bid Deadline shall be

extended to December 16, 2021, at 10:00 a.m. (prevailing Central Time). Qualified Bidders

shall submit executed copies of their respective asset purchase agreements to the Debtors by the

Bid Deadline. As soon as practicable following receipt, the Debtors shall make the asset purchase

agreements for Qualified Bidders available to the Notice Parties, WIPL, SCE, Bay, Sabin, the

United States, and the United States Trustee. The Auction shall be governed by the terms of this

Order and, to the extent not inconsistent with this Order, the Bidding Procedures.



                                                   2
4869-8380-8006.1
          Case 21-32351 Document 913 Filed in TXSB on 12/10/21 Page 3 of 3




         4.        At the conclusion of the Auction, the Debtors shall select a Winning Bidder(s) and

Back-up Bidder(s) in accordance with the Bidding Procedures. No later than December 18, 2021,

at 5:00 p.m. (prevailing Central Time), the Debtors shall file a Declaration of Winning Bidder

based on the results of the Auction.

         5.        The Sale Objection Deadline is hereby extended to December 19, 2021, at 5:00

p.m. (prevailing Central Time) and all parties’ rights to contest the sale and matters occurring at

the re-opened Auction, including among other things, the Debtors’ determination that the WIPL

APA is a higher or otherwise better bid, are preserved.

         6.        The Sale Hearing scheduled for December 7, 2021, at 4:00 p.m. (prevailing Central

Time) is hereby re-set to December 21, 2021, at 10:00 a.m. (prevailing Central Time).

         7.        Notwithstanding the entry of this Order, any and all rights of SCE to the SCE Bid

Protections pursuant to the terms of the Order Granting Debtors’ Emergency Motion to Amend

Bid Procedures and Other Related Relief [Docket No. 813] are preserved.

         8.        Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy Local Rules

are satisfied by such notice.

         9.        Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

         10.       This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.


    Signed: December 10, 2021.
Dated:
                                                         David R. Jones
                                                      ____________________________________
                                                         ChiefR.United
                                                      DAVID      JONESStates Bankruptcy Judge
                                                      UNITED STATES BANKRUPTCY JUDGE


                                                     3
4869-8380-8006.1
